                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS



STATE OF ALASKA, et al.,

                   Plaintiffs,

         v.                                          Case No. 24-1057-DDC-ADM

JOSEPH R. BIDEN, JR., in his official
capacity as President of the United States,
et al.,

                   Defendants.




       DEFENDANTS’ SUPPLEMENTAL BRIEF IN RESPONSE TO AMICUS


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        The Buckeye Institute submitted no comments during the rulemaking process. Now, as

amicus curiae, it largely recycles arguments that Plaintiffs already advanced, and that Defendants have

already addressed in their opposition brief, ECF No. 46. On a handful of issues, however, amicus has

raised novel merits arguments that Plaintiffs did not. Under settled Tenth Circuit precedent, the Court

should not consider those arguments. In any event, they are meritless.

A.      The Court should not consider any arguments of amicus that Plaintiffs did not raise.
        “[O]urs is a party-directed adversarial system,” so courts “normally limit [them]selves to the

arguments the parties . . . choose to present.” Animal Legal Def. Fund v. Kelly, 9 F.4th 1219, 1226 n.6

(10th Cir. 2021). The Court does have “the discretion to reach arguments raised only in an amicus

curiae brief,” but should “‘exercise that discretion only in exceptional circumstances,’ such as when

‘(1) a party attempts to raise the issue by reference to the amicus brief; or (2) the issue involves a

jurisdictional question or touches upon an issue of federalism or comity that could be considered sua

sponte.’” Hooper v. City of Tulsa, 71 F.4th 1270, 1276 n.5 (10th Cir. 2023). No “exceptional

circumstances” are present here: Plaintiffs themselves can protect their federalism-related interests,

if any, and none of the arguments in the amicus brief relates to the Court’s subject-matter jurisdiction.

        That the Court granted leave to file the amicus brief does not limit the Court’s discretion, as

the Tenth Circuit has explicitly recognized. Here, “although [the Court] grant[ed] the motion to file

an amicus brief,” it should still “decline to consider” those arguments not raised by Plaintiffs. Butler v.

Daimler Trucks N. Am., LLC, 74 F.4th 1131, 1144 n.4 (10th Cir. 2023).

B.      Amicus’s new arguments lack merit.

        If the Court does reach any of the new arguments advanced only by amicus, all of them are

meritless—a sentiment apparently shared by Plaintiffs in this case and the plaintiffs in Missouri v. Biden,

No. 4:24-cv-520 (E.D. Mo.), neither of whom raised those arguments.

        1. Master Promissory Note. Amicus’s primary argument appears to be that because

borrowers sign a contractual agreement (MPN) to repay their student loans, the government may not

discharge those loans’ balances. Even accepting the dubious premise that amicus (or Plaintiffs) have

any legally cognizable and judicially enforceable interest in a contract between the federal government


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and student borrowers, but cf. Constructora Guzman, S.A. v. United States, 161 Fed. Cl. 686, 694 (2022)

(“A nonparty becomes legally entitled to a benefit promised in a contract only if the contracting parties

so intend.” (quotation omitted)), this argument fails. The MPN itself does not purport to curtail the

Secretary’s authority, but rather explicitly accounts for it in terms both generic (“The terms of this

MPN are determined in accordance with the [Higher Education Act (HEA) and] our regulations.”

MPN 1 at 3) and specific (“The Act may provide for certain loan forgiveness or repayment benefits on

your loans in addition to the benefits described above.” Id. at 13). That any modification of the MPN

must be in writing, Amicus Br. at 6, changes nothing, as discharges (assuming that they qualify as

“amendments”) are given effect through written notice to the borrower, and the SAVE Plan was

published in the Federal Register, Improving Income Driven Repayment, 88 Fed. Reg. 43,820 (July 10, 2023).

        Equally meritless is amicus’s argument that any loan forgiveness under the Final Rule is “not

part” of the various defenses borrowers may assert to repayment based on the misconduct of their

schools. Amicus Br. at 7. Defendants agree that the Final Rule is based on separate, independent

statutory and regulatory authority. 20 U.S.C. § 1087e(d)(1)(D); 88 Fed. Reg. 43,820. Similarly irrelevant

are amicus’s descriptions of default, equitable estoppel, and the government’s obligation to collect

monetary and proprietary claims. Amicus Br. at 6-8. Amicus’s arguments about future efforts to

collect on forgiven loans, and the availability of equitable defenses in ensuing, hypothetical litigation,

presuppose the invalidity of the Final Rule. Because the Final Rule is lawful, this argument is meritless.

Anyway, no question about hypothetical future enforcement is before the Court.

        2. Appropriations Clause. Amicus’s invocation of the Appropriations Clause is little more

than an attempt to refashion its statutory objections into a constitutional claim. Even assuming the

Appropriations Clause applies to forgiveness of debt, its requirements are met, per Supreme Court

precedent from just last month. For a congressional funding mechanism to satisfy the Appropriations

Clause, “all that is required” are “an identified source” of public funds “and [a] purpose” for their


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         For simplicity, Defendants use the pagination of the MPN referred to by amicus. The most
up-to-date MPN version, which is substantially identical to amicus’s, may be found at
https://perma.cc/NP4N-E4ED.

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expenditure. CFPB v. Cmty. Fin. Servs. Ass’n of Am., Ltd., 601 U.S. 416, 427 (2024). Here, Congress

made “available . . . such sums as may be necessary” to “to make loans to all eligible students (and the

eligible parents of such students),” 20 U.S.C. § 1087a(a), furnishing both a source of funding and a

purpose for its use. Congress also exempted federal student loans from any obligation to periodically

appropriate additional funding. 2 U.S.C. § 661c(c)(1). And even if the Appropriations Clause could

be read to require congressional authorization to increase the cost of the federal student-loan program

through loan discharges, Congress provided that authorization when it empowered the Secretary to

establish “an income contingent repayment plan, with varying annual repayment amounts based on
the income of the borrower.” 20 U.S.C. § 1087e(d)(1)(D). Any counterargument is duplicative of the

statutory-authority arguments at the heart of this case; the Appropriations Clause requires no more.

       3. Property Clause. The Constitution empowers Congress “to dispose of . . . Property

belonging to the United States.” U.S. Const. art. IV, § 3, cl. 2. Congress, in turn, may delegate that

power. Rio Grande Silvery Minnow v. Bureau of Reclamation, 599 F.3d 1165, 1186 (10th Cir. 2010). So

even if the Court concludes that the Final Rule’s loan forgiveness provisions “dispose” of federal

“Property,” that disposition presents no constitutional problem, as Congress delegated any relevant

authority to the Secretary in the HEA. 20 U.S.C. § 1087e(d)(1).

       Amicus’s authorities are not to the contrary. 2 Royal Indemnity Co. v. United States, 313 U.S. 289

(1941), distinguished a “[s]ubordinate officer[] of the United States” id. at 294, from the Commissioner

of Internal Revenue, who (“with the consent of the Secretary of the Treasury”) could validly

“compromise a tax deficiency,” id. Analogously here, the Secretary may dispose of student loan claims

under the HEA. No more applicable is Rio Grande Silvery Minnow. Dispositive there was the absence

of a clear statement of abandonment of property interest such as might be apparent from a “formal

agency ruling or adjudication.” 599 F.3d at 1187. Here, in contrast, the Secretary expressed himself

clearly through the Final Rule. 88 Fed. Reg. at 43,834.




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         Alternatively, because no one—including amicus—raised this argument during the
rulemaking, it is waived. Zen Magnets, LLC v. CPSC, 841 F.3d 1141, 1151 n.11 (10th Cir. 2016).

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Dated: June 7, 2024   Respectfully submitted,

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